Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 1 of 30 Page ID
                                 #:10468
                                                    DEFENDANTS' EXHIBIT 41

                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION




  Jenny Lisette Flores, et al.,           )
         Plaintiffs,                      )
                                          )
                                          )
  V.                                      )                    No. CV 85-4544 DMG (AGRx)
                                          )
  Loretta E. Lynch, Attorney              )
  General of the United States, et al.,   )
          Defendants.                     )
  ~~~~~~~~~~~~)


                            DECLARATION OF DAVID W. STRANGE


   I.   This declaration updates my declaration dated June 2, 20 16 in this case, which appears in

        the record in this case as Defendants' Exhibit 16 [Dkt. 214- 1].

  2.    I am an Assistant Chief in Enforcement Systems Division, e3, of the United States Border

        Patrol, U.S. Customs and Border Protection ("CBP"). I have been in this role since

        November, 2015. Previously, I was an Operations Officer in Enforcement Systems

        Division since February, 2014. I was a Supervisory Border Patrol Agent assigned to the

        Falfurrias Border Patrol Station from February, 2008 until February, 2014.

   3.   The Enforcement Systems Division is responsible for overseeing the e3 Processing module

        and the e3 Detention Module ("e3DM"). E3DM provides the ability to track and monitor a

        variety of information pertaining to individuals in Border Patrol custody. This informat ion

        is entered by Border Patrol Agents when they take a specific action with regard to a

        specific individual.
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 4.    Based on information provided by the plaintiffs, Border Patrol was able to locate records in

       e3DM for plaintiffs who provided declarations in this action. Individual records from

       e3DM look slightly different depending on if the subject is a juvenile or not. Records on

       juveniles contain the juvenile's amenity log, documenting the provision of water; the

       presence of a toilet and sink in a hold room; the cleanliness of the hold room; the presence

       of pests in the hold room ; the temperature in the hold room; and the ventilation in the hold

       room. Records on all individuals contain a subject activity log, which includes all custodial

       actions taken during the individual 's time in Border Patrol 's custody. Exhibits AA through

       DD are true and accurate copies of additional selected activity logs and amenity reports.


         Pursuant to the provisions of 28 U.S.C. § 1746, I declare under penalty of perjury that the

 forgoing is true and correct to the best of my information, knowledge, and belief.




  Executed on this 1f"fb ay of December, 20 16, in the District of Columbia.




                                                   2
Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 3 of 30 Page ID
                                 #:10470




            Exhibit AA
    Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 4 of 30 Page ID
                                     #:10471




Subject Activity Log


M          M             -N
                                     Gender:                F
                                     DOB:
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   09/05/2015 1600
Book In Date/Time:  09/07/2015 0602
Book Out Date/Time: 09/08/2015 1105

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




M      M         N                                                          Printed:    12/15/16
DOB:                     A-File #:                                          Page 1 of 4
Event:
     Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 5 of 30 Page ID
                                      #:10472

                                     Subject Activity Log


                                      Station /
Date/Time           Activity                      Agent Name                   Comments
                                      Facility
09/08/2015
                Welfare Check
   1001
09/08/2015
             Served meal(Accepted)                             Breakfast
   0909
09/08/2015
                Welfare Check
   0857
09/08/2015
                Welfare Check
   0800
09/08/2015
                Welfare Check
   0700
09/08/2015
                Welfare Check
   0522
09/08/2015
                Welfare Check
   0400
09/08/2015
                Welfare Check
   0300
09/08/2015
                Welfare Check
   0225
09/08/2015
                Welfare Check
   0032
09/07/2015
                Welfare Check
   2333
09/07/2015
                Welfare Check
   2103
09/07/2015
                Welfare Check
   2005
09/07/2015
                Welfare Check
   1841
09/07/2015
             Served meal(Accepted)
   1715
09/07/2015
             Served meal(Accepted)
   1658
09/07/2015
                Welfare Check
   1658
09/07/2015
                Welfare Check
   1511
09/07/2015
                Welfare Check
   1400
09/07/2015
                Welfare Check
   1300



M      M       -N                                                          Printed:    12/15/16
DOB:                     A-File #:                                         Page 2 of 4
Event:
     Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 6 of 30 Page ID
                                      #:10473




                                           Station /
Date/Time              Activity                        Agent Name                  Comments
                                           Facility
09/07/2015
                Served meal(Accepted)                               LUNCH SERVED
   1224
09/07/2015
                    Welfare Check
   1200
09/07/2015
                    Welfare Check
   1100
09/07/2015
                    Welfare Check
   1000
09/07/2015
                    Welfare Check
   0900
09/07/2015
                Served meal(Accepted)                               breakfast served
   0803
09/07/2015
                    Welfare Check
   0803
09/07/2015
                Served meal(Accepted)
   0800
09/07/2015
                    Welfare Check
   0800
09/07/2015
                    Welfare Check
   0700
09/07/2015
             Medical Treatment (Non-OBP)
   0603
09/07/2015
                    Welfare Check
   0603
09/07/2015
                Served meal(Accepted)
   0603
09/07/2015
                 Processing Complete
   0157
09/07/2015
                Served meal(Accepted)
   0035
09/07/2015
                    Welfare Check
   0035
09/06/2015
                Served meal(Accepted)
   1830
09/06/2015
                    Welfare Check
   1830
09/06/2015
                Served meal(Accepted)
   0941
09/06/2015
                    Welfare Check
   0941
09/05/2015
                Served meal(Accepted)
   2338


M      M          -N                                                          Printed:    12/15/16
DOB:               yA-File #:                                                 Page 3 of 4
Event:
     Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 7 of 30 Page ID
                                      #:10474




                                  Station /
Date/Time           Activity                  Agent Name            Comments
                                  Facility
09/05/2015
                 Welfare Check
   2338




M      M       -N                                               Printed:    12/15/16
DOB:            A-File #:                                       Page 4 of 4
Event:
     Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 8 of 30 Page ID
                                      #:10475




Subject Activity Log


J            L          -M
                                         Gender:                M
                                         DOB:
                                         Nationality:           EL SALVADOR
                                         Accompanying Adult(s): M     D     M               -N




                                         Event:
                                         A-File #:
                                         FINS #:
                                         Disposition:
Medical Conditions:                                     Detention Reasons:
No Medical Conditions Found                             Immigration Violation




Arrest Date/Time:   09/05/2015 1600
Book In Date/Time:  09/07/2015 0602
Book Out Date/Time: 09/08/2015 1105

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                         Expresses Fear of Return?




         L   -M                                                                 Printed:    12/15/16
DOB:                         A-File #:                                          Page 1 of 4
Event:
     Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 9 of 30 Page ID
                                      #:10476

                                     Subject Activity Log


                                      Station /
Date/Time          Activity                       Agent Name                   Comments
                                      Facility
09/08/2015
                 Welfare Check
   1001
09/08/2015
             Served meal(Accepted)                             Breakfast
   0909
09/08/2015
                 Welfare Check
   0857
09/08/2015
                 Welfare Check
   0800
09/08/2015
                 Welfare Check
   0700
09/08/2015
                 Welfare Check
   0522
09/08/2015
                 Welfare Check
   0400
09/08/2015
                 Welfare Check
   0300
09/08/2015
                 Welfare Check
   0225
09/08/2015
                 Welfare Check
   0032
09/07/2015
                 Welfare Check
   2333
09/07/2015
                 Welfare Check
   2103
09/07/2015
                 Welfare Check
   2005
09/07/2015
                 Welfare Check
   1841
09/07/2015
             Served meal(Accepted)
   1715
09/07/2015
             Served meal(Accepted)
   1658
09/07/2015
                 Welfare Check
   1658
09/07/2015
                 Welfare Check
   1511
09/07/2015
                 Welfare Check
   1400
09/07/2015
                 Welfare Check
   1300



             M                                                             Printed:    12/15/16
DOB:                    A-File #                                           Page 2 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 10 of 30 Page ID
                                  #:10477
    Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 11 of 30 Page ID
                                      #:10478




                                 Station /
Date/Time            Activity                Agent Name            Comments
                                 Facility
09/05/2015
                 Welfare Check
   2338




J        L   M                                                 Printed:    12/15/16
DOB:         6 yoA-File #:                                     Page 4 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 12 of 30 Page ID
                                  #:10479




             Exhibit BB
    Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 13 of 30 Page ID
                                      #:10480




Subject Activity Log


S          A            -V
                                         Gender:                F
                                         DOB:
                                         Nationality:           HONDURAS
                                         Accompanying Adult(s):




                                         Event:
                                         A-File #:
                                         FINS #:
                                         Disposition:
Medical Conditions:                                     Detention Reasons:
No Medical Conditions Found                             Immigration Violation




Arrest Date/Time:   12/14/2015 1420
Book In Date/Time:  12/15/2015 2105
Book Out Date/Time: 12/16/2015 1405

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                         Expresses Fear of Return?




S      A        V                                                               Printed:    12/15/16
DOB:                         A-File #:                                          Page 1 of 3
Event:
    Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 14 of 30 Page ID
                                      #:10481

                                       Subject Activity Log


                                        Station /
Date/Time           Activity                        Agent Name                  Comments
                                        Facility
12/16/2015
             Medical Treatment (OBP)                             Medically cleared for travel and placement
   1405
12/16/2015
                 Welfare Check
   1254
12/16/2015
                 Welfare Check
   1214
12/16/2015
              Served meal(Accepted)                              LUNCH SERVED
   1145
12/16/2015
                 Welfare Check
   1059
12/16/2015
                 Welfare Check
   1002
12/16/2015
                 Welfare Check
   0903
12/16/2015
              Served meal(Accepted)                              BREAKFAST SERVED
   0838
12/16/2015
                 Welfare Check
   0811
12/16/2015
                 Welfare Check
   0715
12/15/2015
                 Welfare Check
   2212
12/15/2015
                 Welfare Check
   2115
12/15/2015
              Served meal(Accepted)                              snack
   2109
12/15/2015
                 Welfare Check
   2109
12/15/2015
               Processing Complete
   1458
12/15/2015
                 Welfare Check
   1156
12/15/2015
                 Welfare Check                                   for 1000 hrs
   1036
12/15/2015
                 Welfare Check
   0902
12/15/2015
                 Welfare Check
   0818
12/15/2015
              Served meal(Accepted)
   0743



S      A     V                                                             Printed:    12/15/16
DOB:                     A-File #:                                         Page 2 of 3
Event:
    Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 15 of 30 Page ID
                                      #:10482




                                     Station /
Date/Time            Activity                    Agent Name                   Comments
                                     Facility
12/15/2015
                  Welfare Check
   0743
12/15/2015
                  Welfare Check                                ubjects are doing well.
   0602
12/15/2015
                  Welfare Check
   0559
12/15/2015
                  Welfare Check                                ubjects are doing good.
   0500
12/15/2015
                  Welfare Check                                ubjects are doing well.
   0404
12/15/2015
                  Welfare Check                                ubjects are doing well.
   0300
12/15/2015
                  Welfare Check                                ubjects are doing well.
   0155
12/15/2015
                  Welfare Check                                ubjects are doing well.
   0100
12/15/2015
                  Welfare Check                                ubjects are doing well.
   0013
12/14/2015
             Served meal(Accepted)                            Meals to served to all.
   2352
12/14/2015
                  Welfare Check                                ubjects are doing well.
   2302
12/14/2015
                  Welfare Check                               All subjects in good health
   2104
12/14/2015
                  Welfare Check                               All subjects in good health
   1929
12/14/2015
                  Welfare Check
   1818
12/14/2015
                  Welfare Check                               All subjects in good health
   1811
12/14/2015
                  Welfare Check                               All subjects in good health
   1701
12/14/2015
             Served meal(Accepted)
   1656
12/14/2015
                  Welfare Check
   1655




S      A     -V                                                          Printed:    12/15/16
DOB:              A-File #:                                              Page 3 of 3
Event:
    Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 16 of 30 Page ID
                                      #:10483




Subject Activity Log


M            C      -A
                                     Gender:                M
                                     DOB:
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): S    M            A         -V




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   12/14/2015 1420
Book In Date/Time:  12/15/2015 2105
Book Out Date/Time: 12/16/2015 1405

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




M        C   -A                                                             Printed:    12/15/16
DOB:                     A-File #:                                          Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 17 of 30 Page ID
                                      #:10484

                                       Subject Activity Log


                                        Station /
Date/Time             Activity                      Agent Name                  Comments
                                        Facility
12/16/2015
             Medical Treatment (OBP)                             Medically cleared for travel and placement
   1405
12/16/2015
                   Welfare Check
   1254
12/16/2015
                   Welfare Check
   1214
12/16/2015
              Served meal(Accepted)                              LUNCH SERVED
   1145
12/16/2015
                   Welfare Check
   1059
12/16/2015
                   Welfare Check
   1002
12/16/2015
                   Welfare Check
   0903
12/16/2015
              Served meal(Accepted)                              BREAKFAST SERVED
   0838
12/16/2015
                   Welfare Check
   0811
12/16/2015
                   Welfare Check
   0715
12/16/2015
              Served meal(Accepted)                              given snack
   0714
12/15/2015
                   Welfare Check
   2212
12/15/2015
                   Welfare Check
   2115
12/15/2015
              Served meal(Accepted)                              snack
   2109
12/15/2015
                   Welfare Check
   2109
12/15/2015
              Served meal(Accepted)                              Snack provided by G4S.
   1915
12/15/2015
                 Processing Complete
   1458
12/15/2015
                   Welfare Check
   1156
12/15/2015
                   Welfare Check
   1130
12/15/2015
              Served meal(Accepted)                              snacks
   1049



M            A                                                             Printed:    12/15/16
DOB:                       A-File #:                                       Page 2 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 18 of 30 Page ID
                                  #:10485
    Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 19 of 30 Page ID
                                      #:10486




                                 Station /
Date/Time           Activity                 Agent Name            Comments
                                 Facility
12/14/2015
                 Welfare Check
   1655




M        C   -                                                 Printed:    12/15/16
DOB:             A-File #:                                     Page 4 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 20 of 30 Page ID
                                  #:10487
Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 21 of 30 Page ID
                                  #:10488




             Exhibit CC
Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 22 of 30 Page ID
                                  #:10489
    Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 23 of 30 Page ID
                                      #:10490

                                     Subject Activity Log


                                      Station /
Date/Time          Activity                       Agent Name                     Comments
                                      Facility
11/11/2015
                Welfare Check
   1100
11/11/2015
                Welfare Check
   1000
11/11/2015
                Welfare Check
   0900
11/11/2015
                Welfare Check                                  awake and doing well
   0800
11/11/2015
             Served meal(Accepted)
   0738
11/11/2015
                Welfare Check                                  Awake and doing well.
   0702
11/11/2015
                Welfare Check
   0600
11/11/2015
                Welfare Check
   0510
11/11/2015
                Welfare Check
   0445
11/11/2015
                Welfare Check
   0343
11/11/2015
                Welfare Check
   0316
11/11/2015
                Welfare Check
   0300
11/11/2015
                Welfare Check
   0200
11/11/2015
                Welfare Check
   0026
11/10/2015
                Welfare Check
   2318
11/10/2015
                Welfare Check
   2255
11/10/2015
                Welfare Check
   2110
11/10/2015
                Welfare Check                                  Subject is well
   2000
11/10/2015
                Welfare Check
   1900
11/10/2015
             Separated from Family                             Operationally infeasible.
   1857



W        M                                                                Printed:    12/15/16
DOB:                    A-File #:                                         Page 2 of 5
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                                  #:10492
    Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 26 of 30 Page ID
                                      #:10493




                                 Station /
Date/Time          Activity                  Agent Name                 Comments
                                 Facility
11/09/2015
                 Welfare Check                            ALL IS WELL.
   1130
11/09/2015
                 Welfare Check                            ALL IS WELL
   1032
11/09/2015
                 Welfare Check                            ALL IS WELL
   0938




W        M   R                                                    Printed:    12/15/16
DOB:             -File #:                                         Page 5 of 5
Event:
                                                  Case 2:85-cv-04544-DMG-AGR Document 298-12 Filed 12/16/16 Page 27 of 30 Page ID
                                                                                    #:10494
Amenities: BJW‐Bottled/Jug Water; NPW‐Non‐Potable‐Water; PW‐Potable‐Water; S‐Sink; TOI‐Toilet; WF‐Water Fountain
General Amenity: CLEAN‐Is Cell Clean?; PEST‐Is Cell Pest Free?; TEMP‐Temperature (66 ‐ 80) degrees; VENT‐Is Cell Ventilated?
SECTOR_CDIN_CUSTODCIV_ALIEN_FILE_NBR DCL_ID                COMMENT SUBFACILITEVNT_NBR SBJLOC_BOOK_IN_DT AR_REPORT_DTTM                      CIV_LNAME   CIV_FNAME CIV_AGE DPC_CELL_ DCL_CELL_NM   AMENITIES                                      CELL_COM
RGV        MCS                                                                                      11/9/2015 9 07        11/9/2015 15:23   M     R     W               12          Cell 116      BJW‐Y CLEAN‐Y PEST‐Y S‐Y TEMP‐Y TOI‐Y VENT‐Y   Y
RGV        MCS                                                                                      11/9/2015 9 07        11/9/2015 22:49   M     R     W               12          Cell 116      BJW‐Y CLEAN‐Y PEST‐Y S‐Y TEMP‐Y TOI‐Y VENT‐Y   Y
RGV        MCS                                                                                      11/9/2015 9 07         11/9/2015 6:30   M     R     W               12          Cell 116      BJW‐Y CLEAN‐Y PEST‐Y S‐Y TEMP‐Y TOI‐Y VENT‐Y   Y
RGV        RGV                                                        CPC                        11/10/2015 18:49        11/10/2015 15 55   M     R     W               12          R8            CLEAN‐Y PEST‐Y TEMP‐Y VENT‐Y                   Y
RGV        RGV                                                        CPC                        11/10/2015 18:49         11/10/2015 8 00   M     R     W               12          R8            CLEAN‐Y PEST‐Y TEMP‐Y VENT‐Y                   Y
RGV        RGV                                                        CPC                        11/10/2015 18:49        11/10/2015 23:21   M     R     W               12          R8            CLEAN‐Y PEST‐Y TEMP‐Y VENT‐Y                   Y
RGV        RGV                                                        CPC                        11/10/2015 18:49        11/10/2015 12:29   M     R     W               12          R8            CLEAN‐Y PEST‐Y TEMP‐Y VENT‐Y                   Y
RGV        RGV                                                        CPC                        11/10/2015 18:49         11/10/2015 2 06   M     R     W               12          R8            CLEAN‐Y PEST‐Y TEMP‐Y VENT‐Y                   Y
RGV        RGV                                                        CPC                        11/10/2015 18:49         11/10/2015 7 00   M     R     W               12          R8            CLEAN‐Y PEST‐Y TEMP‐Y VENT‐Y                   Y
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                                  #:10495




             Exhibit DD
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                                      #:10497

                                      Subject Activity Log


                                       Station /
Date/Time            Activity                      Agent Name                  Comments
                                       Facility
10/16/2015                                                      All subjects claim and appear to be in good
                Welfare Check
   0319                                                         health.
10/16/2015                                                      All subjects claim and appear to be in good
                Welfare Check
   0238                                                         health.
10/16/2015
                Welfare Check
   0123
10/15/2015
             Served meal(Accepted)                              Burritos and frozen meals.
   2340
10/15/2015
                Welfare Check                                   Subjects were sleeping.
   2339
10/15/2015
                Welfare Check
   2209
10/15/2015
                Welfare Check
   2133
10/15/2015
                Welfare Check
   2030
10/15/2015
                Welfare Check
   1928
10/15/2015
                Welfare Check
   1739
10/15/2015
                Welfare Check
   1635
10/15/2015
                Welfare Check
   1600
10/15/2015
                Welfare Check
   1503
10/15/2015
              Processing Complete
   1458
10/15/2015
             Served meal(Accepted)                              Mother and son accepted meal.
   1400
10/15/2015                                                      Mother and son claim and appear to be in
                Welfare Check
   1400                                                         good helath
10/15/2015
             Served meal(Accepted)
   1207




         G       R        A                                               Printed:    12/15/16
DOB:                      A-File #:                                       Page 2 of 2
Event:
